                              UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MISSOURI
                                   WESTERN DIVISION

     RHONDA BURNETT, JEROD BREIT,                    )
     JEREMY KEEL, HOLLEE ELLIS, and                  )
     FRANCES HARVEY, on behalf of                    )
     themselves and all others similarly situated,   )
                                                     )
                    Plaintiffs,                      )
                                                     )    Case No: 4:19-cv-00332-SRB
     v.                                              )
                                                     )
     THE NATIONAL ASSOCIATION OF                     )    Judge Stephen R. Bough
     REALTORS, REALOGY HOLDINGS                      )
     CORP., HOMESERVICES OF AMERICA,                 )
     INC., BHH AFFILIATES, LLC, HSF                  )
     AFFILIATES, LLC, RE/MAX, LLC, and               )
     KELLER WILLIAMS REALTY, INC.,                   )
                                                     )
                    Defendants.
                                                     )

      DEFENDANT THE NATIONAL ASSOCIATION OF REALTORS’® TRIAL BRIEF

I.        The Evidence Will Show that NAR Did Not Violate the Antitrust Laws

          A.      NAR is a voluntary trade association that prohibits its members from violating the
                  antitrust laws.

          NAR is a trade association that provides education, research, branding and advertising,

news, and advocacy for its members and their clients. As a trade association, NAR does not receive

commissions from sellers or buyers of real estate, NAR does not set commission amounts, NAR

does not determine who receives commissions, and NAR does not decide how commissions are

paid. While NAR does not study or track commissions, it produces research for the benefit of its

members and their clients. For example, contrary to what Plaintiffs argue in this case, NAR’s

research finds that while finding a home for sale is easier than ever—largely due to the exact

multiple listing services supported by NAR’s Model Rules—the value of buyer agents to both

buyers and sellers has increased.




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       NAR’s approximately 1.6 million members nationwide account for about half of all

licensed real estate professionals. And those members come in all shapes and sizes, from across

the country, and with myriad business strategies and commission structures.

       The distinguishing feature of a NAR member is that they commit to follow a written and

published Code of Ethics, which they can denote to consumers by using the registered trademark

“REALTOR®.”         Thus, a REALTOR® is not synonymous with any licensed real estate

professional; it is a subset of those professionals who publicly tell consumers how they will

conduct themselves. Specifically, under Article 1 of NAR’s Code of Ethics, consumers know that

“REALTORS® pledge themselves to protect and promote the interests of their client. This

obligation to the client is primary.” Code of Ethics, Art. 1. This commitment to putting client

interests first permeates everything NAR does. The Code of Ethics is on NAR’s website for all

consumers to see.

       Another provision of NAR’s Code of Ethics, which also flows from Article 1, requires all

members to make sure their clients know the relevant information about commissions.

Specifically, “[w]hen entering into listing contracts, REALTORS® must advise sellers/landlords

of . . . the REALTOR®’s company policies regarding cooperation and the amount(s) of any

compensation that will be offered to subagents, buyer/tenant agents, and/or brokers acting in

legally recognized non-agency capacities” and “the fact that buyer/tenant agents or brokers, even

if compensated by listing brokers, or by sellers/landlords may represent the interests of

buyers/tenants.” Code of Ethics, SOP 1-12. And NAR has a nearly identical requirement for

members who represent buyers. Code of Ethics, SOP 1-13. NAR also requires that “whenever

possible that all agreements related to real estate transactions . . . are in writing in clear and

understandable language.” Code of Ethics, Art. 9.



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       NAR also expressly prohibits the exact types of conspiracies Plaintiffs allege here. First,

NAR has an “Antitrust Compliance Policy” that reads: “Boards and associations of REALTORS®

and their MLSs shall not: 1. Fix, control, recommend, or suggest the commissions or fees charged

for real estate brokerage services (Interpretation 14). 2. Fix, control, recommend, or suggest the

cooperative compensation offered by listing brokers to potential cooperating brokers.” Second,

NAR has the following notice in the Model Rules:




Third, NAR has literature it publishes instructing its members not to violate the antitrust laws.

Like the Code of Ethics, these materials are publicly distributed by NAR and available on its

website.

       Of course, if a buyer or seller of real estate, including Plaintiffs, reads NAR’s publications

and does not agree with any part of what NAR members do, those buyers and sellers can hire any

one of the hundreds of thousands of non-REALTORS®, or even choose to forgo an agent entirely.

But Plaintiffs in this case not only chose to hire a REALTOR®, but they also negotiated and agreed

to the commissions and to whom it would be paid. Simply stated, they benefitted from NAR, its

Code of Ethics, and its Model Rules.




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       B.      Cooperation between agents to sell a home, and offers of compensation from one
               agent to the other are not evidence of a conspiracy.

       To sell a home, real estate agents must cooperate—and there is nothing negative or illegal

about that cooperation. As the Supreme Court recognized long ago, every commercial transaction

requires some cooperation between the buyer and seller. See, e.g., Bd. of Trade of City of Chicago

v. United States, 246 U.S. 231, 238, (1918) (“Every agreement concerning trade, every regulation

of trade, restrains.”); Nw. Wholesale Stationers, Inc. v. Pac. Stationery & Printing Co., 472 U.S.

284, 289 (1985) (“[E]very commercial agreement restrains trade.”). This is no different in real

estate, where the existence of every transaction depends on buyers and sellers—and the agents that

assist them—cooperating with one another.         Plaintiffs seek to make this normal and legal

commerce grounds for liability.

       “Cooperation” under NAR’s Code of Ethics is a defined term that simply means sharing

the information about a listed property or making the listed property available to other agents to

show to potential buyers. Code of Ethics, SOP 3-10 (“The duty to cooperate established in Article

3 relates to the obligation to share information on listed property, and to make property available

to other brokers for showing to prospective purchasers/tenants when it is in the best interests of

sellers/landlords.”). Cooperation is subject to the best interests of the client. See Code of Ethics,

Art. 3 (“REALTORS® shall cooperate with other brokers except when cooperation is not in the

client’s best interest. The obligation to cooperate does not include the obligation to share

commissions, fees, or to otherwise compensate another broker.”); NAR Case #3-4, “Cooperation

Not Mandatory.” And NAR specifies that cooperation “does not include the obligation to share

commissions, fees, or to otherwise compensate another broker.” Code of Ethics, Art. 3.

       Missouri law recognizes cooperation between real estate agents. Missouri statute expressly

provides that “[a] transaction broker may cooperate with other brokers[.]”           Mo. Rev. Stat

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339.755(8). Cooperation is expressly authorized by Missouri regulations as well. See 20 CSR

2250-8.090(4)(A)(9) & (5)(A)(9).

        One way a cooperating agent (the one who helps the seller’s agent sell the home) can be

paid for her work selling the home is by the seller’s agent, and, in real estate, that is called an “offer

of compensation.” Like cooperation, offers of compensation are authorized by Missouri law. “In

any real estate transaction, the designated broker’s compensation may be paid by the seller, the

landlord, the buyer, the tenant, or a third party or by sharing the compensation between designated

brokers,” and a seller “may agree that a designated broker may share with another designated

broker the compensation paid by the seller or landlord.” Mo. Rev. Stat. 339.800; see also 20 CSR

2250-8.090(4)(A)(9) (providing the brokerage agreement must specify “whether or not the

designated broker is authorized to cooperate with and compensate other designated brokers acting

pursuant to any other brokerage relationship”).

        Not only are cooperation and offers of compensation authorized by Missouri law, they have

also existed for over 100 years—although at trial NAR will not seek to introduce any evidence

from prior to 1950 (so as to not open the door to the evidence the Court has excluded in Defendants’

MIL No. 4). NAR did not invent cooperation or offers of compensation—they evolved in the free

marketplace based on what was best for buyers and sellers and the most efficient way to sell homes.

Therefore, both concepts are found in NAR’s Model Rules and Code of Ethics as a reflection of

the free marketplace, and not anything NAR is forcing.

        Another example of how the free market, not NAR, decides how real estate agents’ services

are given and paid for, is how buyer agents emerged. Prior to the mid-1980s buyers did not have

their own agents. Then, in the mid-1980s consumer protection advocates argued that buyers

should have their own agents. NAR convened a Presidential Advisory Group on how to change



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its practices in light of those free market changes. The PAG studied the issues for years and made

numerous recommendations to the NAR membership. One of those many changes that the PAG

recommended, and the NAR membership adopted, was a revision of the Offer of Compensation

Model Rule to change its wording to accommodate buyer agents. Therefore, based on market

forces, NAR expanded the options and choices for consumers.

       C.      Even where followed, NAR’s Model Rules do not require sellers to do anything,
               and do not prevent sellers from doing anything; NAR’s Model Rules do not fix, set,
               inflate, or suggest commission amounts.

       The Model Rule at the center of Plaintiffs’ case is Policy Statement 7.23, which is titled

“Commission/Cooperative Compensation Offers.” That Model Rule reads:

       In filing property with the multiple listing service, participants make blanket
       unilateral offers of compensation to the other MLS participants and shall therefore
       specify on each listing filed with the service the compensation being offered by the
       listing broker to the other MLS participants. This is necessary because cooperating
       participants have the right to know what their compensation will be prior to
       commencing their efforts to sell.

       The listing broker retains the right to determine the amount of compensation offered
       to subagents, buyer agents, or to brokers acting in other agency or nonagency
       capacities, which may be the same or different. (Revised 11/96)

There are three notable and undisputed facts about this Model Rule: (1) it imposes no obligations

on sellers; (2) it imposes no particular amount the agent representing the seller must offer to pay

the agents helping her sell the home; and (3) it explains that its purpose is to make sure agents

know how much they will be paid before they do any work. Therefore, even if they hire agents

who follow NAR’s Model Rules, sellers are free to choose their agents, how much to pay them,

and how they are paid; and under the Model Rules, sellers have no obligation to pay anything to

anyone, including the buyer agents.




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       D.      NAR’s Model Rules do not prohibit any negotiations, whether between the agents
               and their clients or between agents.

       NAR’s Code of Ethics and Model Rules do not impose any obligations on sellers, and thus

they are free to negotiate commissions with their agents. NAR also does not prohibit any

negotiations between agents. While NAR prohibits one agent from unilaterally changing the

compensation she is being paid, Code of Ethics, SOP 3-2 and 16-16, it “does not preclude the

listing broker and cooperating broker from entering into an agreement to change cooperative

compensation.” Code of Ethics, SOP 3-3. Under NAR’s Code of Ethics, “REALTORS® are free

to enter into contractual relationships or to negotiate with sellers/landlords, buyers/tenants or

others who are not subject to an exclusive agreement but shall not knowingly obligate them to pay

more than one commission except with their informed consent.” Code of Ethics, SOP 16-14.

Consequently, NAR has publicly advised that it “never prohibits negotiations between the listing

broker and a cooperating broker at any time during the transaction.”               2021 Code of

Comprehension: Article 16. In conjunction with the Model Rule on offers of compensation, this

means that every agent is informed how much she will be paid before she works, and she can then

decide, before she starts working to sell a house, whether to do the work at that amount, find other

work, or negotiate a different amount.

       E.      There is no evidence NAR’s members conspired with the other Defendants.

       There is no direct evidence that the Defendants agreed with each other to enforce or follow

NAR’s Model Rules. Instead, Plaintiffs point to the fact that agents affiliated with Defendants

make offers of compensation and communicate them through the multiple listing service. But as

described above, that would happen without NAR’s Model Rules. Plaintiffs then point to a few

NAR meetings that people affiliated with the other Defendants attended over the years where there

is no evidence that the Offer of Compensation Model Rule was even referenced. But mere

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attendance is not sufficient to show participation in a conspiracy. AD/SAT, Div. of Skylight, Inc.

v. Associated Press, 181 F.3d 216, 234 (2d Cir. 1999) (“[A]n antitrust plaintiff must present

evidence tending to show that association members, in their individual capacities, consciously

committed themselves to a common scheme designed to achieve an unlawful objective.”); see also

id. at 242 (analyzing the language of a specific speech by a trade association officer); Craftsmen

Limousine, Inc. v. Ford Motor Co., 363 F.3d 761, 772 (8th Cir. 2004) (referring to specific meeting

minutes, a letter, and a fax). Finally, Plaintiffs point to meetings held by other Defendants or those

Defendants’ internal documents, none of which involved NAR.

       In fact, Plaintiffs’ conspiracy allegations boil down to an argument that trade associations

are walking conspiracies, which courts routinely have rejected. See Consol. Metal Prods., Inc. v.

Am. Petroleum Inst., 846 F. 2d 284, 293-94 (5th Cir. 1988) (“[A] trade association is not by its

nature a ‘walking conspiracy.’”); Wilk v. Am. Med. Ass’n, 895 F. 2d 352, 374 (7th Cir. 1990)

(holding a trade association is not a “walking conspiracy”); Five Smiths, Inc. v. Nat’l Football

League Players Ass’n, 788 F. Supp. 1042, 1049 n.5 (D. Minn. 1992) (same).                 Moreover,

“participation in trade organizations provides no indication of conspiracy.” Am. Dental Ass’n v.

Cigna Corp., 605 F. 3d 1283, 1295 (11th Cir. 2010).

       Plaintiffs also claim that offers of compensation have allegedly been clustered at certain

levels. But Plaintiffs ignore the fact that there is competition—including commissions decreasing,

offers of different compensation rates in Missouri, and negotiations of commissions between

listing agents and sellers. Competition is inconsistent with an antitrust conspiracy. See Lovett v.

Gen. Motors Corp., 998 F.2d 575, 581 (8th Cir. 1993) (reversing district court and finding evidence

was insufficient to support the alleged conspiracy). Moreover, market participants do not act like

there is a conspiracy. Individual agents negotiate commissions and modify listing agreements to



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reflect various price and other terms, and agents do that to assist their clients in finding a home

and closing real estate transactions.

II.    Sellers, Including the Plaintiffs, Do Not Purchase Anything Directly From NAR or
       the Other Defendants

       Under both federal and Missouri antitrust law, only “direct purchasers” have standing to

sue for damages. Ill. Brick Co. v. Ill., 431 U.S. 720, 728-29, 740 (1977); Ireland v. Microsoft

Corp., No. 00CV-201515, 2001 WL 1868946, at *1 (Mo. Cir. Ct. Jan. 24, 2001) (“It is clear that

plaintiff, as an indirect purchaser, lacks standing to sue.”).           The Supreme Court has

“incorporate[ed] principles of proximate cause into” the antitrust laws, ruling that “indirect

purchasers who are two or more steps removed from the violator in a distribution chain may not

sue. Our decision in Illinois Brick established a bright-line rule that authorizes suits by direct

purchasers but bars suits by indirect purchasers.” Apple Inc. v. Pepper, 139 S. Ct. 1514, 1520

(2019) (emphases in original). “For example, if manufacturer A sells to retailer B, and retailer B

sells to consumer C, then C may not sue A. But B may sue A if A is an antitrust violator. And C

may sue B if B is an antitrust violator.” Id. at 1521. Therefore, Plaintiffs must allege that they

purchased something from Defendants. Id.; see Campos v. Ticketmaster Corp., 140 F.3d 1166,

1169 (8th Cir. 1998) (holding that Illinois Brick requires joinder of the persons from whom

plaintiffs actually purchased); In re Midwest Milk Monopolization Litig., 730 F. 2d 528, 529-30

(8th Cir. 1984) (same); Howard Hess Dental Lab’ys Inc. v. Dentsply Int’l, Inc., 424 F.3d 363, 370

(3rd Cir. 2005) (same).

       Here, however, Plaintiffs specifically, and sellers generally, are not direct purchasers from

Defendants or cooperating buyer agents; it is undisputed that Plaintiffs have not bought anything

from NAR or the other Defendants. NAR receives membership dues from its members, which do

not include Plaintiffs. In fact, according to the Model Rules and Plaintiffs’ own listing agreements,

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when a listing agent makes an offer to pay cooperating agents, the listing agent is the direct

purchaser (of the cooperating agent’s services), not Plaintiffs or other sellers. And, according to

those same Model Rules and listing agreements, Plaintiffs did not directly pay cooperating agents,

NAR, or the other Defendants; sellers only directly pay their listing agents and only directly receive

services from their own agents. Therefore, at best, Plaintiffs might claim that they paid their listing

agents (who are not parties to this case) who, only then, paid Defendants. But such an indirect

claim is prohibited by Supreme Court case law. As such, Plaintiffs do not have standing to recover

from Defendants. See, e.g., Campos, 140 F.3d at 1171 n.4 (“In this circuit, an antitrust plaintiff

cannot avoid the Illinois Brick rule by characterizing a direct purchaser as a party to the antitrust

violation, unless the direct purchaser is joined as a defendant.”); see also Howard Hess, 424 F.3d

at 370 (“We have rejected attempts to invoke a coconspirator exception to Illinois Brick’s bar

on indirect purchaser standing when plaintiffs have not named the co-conspirators immediately

upstream as defendants.”).

       In its summary judgment decision, the Court held “that Plaintiffs have established a

genuine dispute of material fact as to whether they are considered direct purchasers under Illinois

Brick.” Order on Motion for Summary Judgment at 12, ECF No. 1019. But to prevail at trial,

Plaintiffs must show they directly purchased something from NAR and the other Defendants.

III.   Particular Issues That May Come Up at Trial

       NAR foresees the following as likely to come up during trial.

              Scope of cross: Plaintiffs have said their case-in-chief will include testimony by

               NAR witnesses by deposition video. NAR told Plaintiffs it will be bringing some

               of those witnesses to testify live, and NAR offered to bring them for Plaintiffs’

               case-in-chief to do a combined examination. Plaintiffs refused, and the Court



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      ordered that Plaintiffs could play the deposition videos of witnesses, even if they

      will appear later in person. Pretrial Hearing Transcript at 88:15-21, ECF No. 1139.

      By Plaintiffs making that decision, NAR respectfully requests that the Court

      prevent Plaintiffs from asking any questions exceeding the scope of NAR’s direct.

      See Fed. R. Evid. 611(b) (“Cross-examination should not go beyond the subject

      matter of the direct examination and matters affecting the witness’s credibility.”).

     Exhibits without sponsoring witnesses: NAR continues to object to the admission

      of any exhibits for which there is no sponsoring witness. As stated at the pretrial

      hearing, Plaintiffs intend to introduce exhibits through deposition testimony.

      However, “many of the exhibits were shown to a witness who’s not competent.

      That witness was badgered about the contents of that exhibit, and then the deposing

      attorney moved on. That is not a proper sponsoring witness for a document.” ECF

      No. 1139 at 14:11-15. This particularly applies to Anywhere and RE/MAX, from

      which no employees will appear live at trial and Plaintiffs are limited to their

      deposition designations.

     Objections and examinations of Plaintiffs’ witnesses:        NAR understands the

      Court’s Trial Rule 7 and Local Rule 83.3(b), and only one attorney for NAR will

      question any particular witness or object to Plaintiffs’ questions, though we expect

      that there will be occasions during which NAR will need to object even though

      another Defendant objected or ask questions of a witness even if another Defendant

      already inquired. If the Court allows for a stipulation that a question or objection

      by one Defendant is a question or objection by all Defendants, we expect the

      occasions for an additional NAR question or objection will be limited.


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     Rule 50(a) Motion and the Rule of Reason: NAR expects it will file a Rule 50(a)

      motion at the end of Plaintiffs’ case-in-chief and that it will continue to argue, in

      that motion, in the jury instructions conference, and elsewhere, that the evidence

      shows that the jury should consider this case under the Rule of Reason, and not per

      se.




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Dated: October 6, 2023                 Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I hereby certify that on October 6, 2023, a copy of the foregoing document was

electronically filed through the ECF system and will be sent electronically to all persons

identified on the Notice of Electronic Filing.


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